            Case 2:23-cv-01727-RSL           Document 87   Filed 06/04/25      Page 1 of 2




‭

 2

 3

 4

 5

 6

 7
                              UNITED STATES DISTRICT COURT
 8                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 9

10

11   STEVEN HORN, individually and on behalf           No. 2:23-cv-01727-RSL
     of all others similarly situated,
‭‫‮‬                                                     ORDER GRANTING PLAINTIFF’S
                           Plaintiff,                  LCR 7(F) MOTION TO FILE OVER-
13                                                     LENGTH MOTION TO COMPEL
            v.
14
     AMAZON.COM, INC.,
15
                           Defendant.
16

17

18

19

20

21

22

23

24

25

26

27

     ORDER GRANTING PLAINTIFF’S MOTION FOR
     OVER-LENGTH MOTION
                                                   1
            Case 2:23-cv-01727-RSL           Document 87    Filed 06/04/25     Page 2 of 2




‭                                               ORDER

 2          Plaintiff’s LCR 7(f) Motion to File Over-Length Motion to Compel is GRANTED.

 3   Plaintiff may file a motion to compel containing up to 5,200 words, and Amazon’s response may

 4   also contain up to 5,200 words.

 5

 6          IT IS SO ORDERED.

 7          Dated this 4th day of June, 2025.

 8

 9                                                     A
                                                       Robert S. Lasnik
10
                                                       United States District Judge
11

‭‫‮‬

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

     ORDER GRANTING PLAINTIFF’S MOTION FOR
     OVER-LENGTH MOTION
                                                   2
